                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF WISCONSIN


 UNITED STATES OF AMERICA,

                Plaintiff,

          v.                                         Case No. 12-CR-154 (WCG/WEC)

 MANUEL MENDOZA and
 MARCO MAGANA,

                Defendants.


     RECOMMENDATION ON DEFENDANTS’ MOTIONS TO SUPPRESS EVIDENCE


                               I. PROCEDURAL BACKGROUND

          On July 17, 2012, a criminal complaint was filed, naming among others1 Marco Magana

 (“Magana”) and Manuel Mendoza (“Mendoza”) as defendants. On July 24, 2012, a grand jury returned

 a four-count indictment. In relevant part, Count One charges Magana and Mendoza with knowingly

 and intentionally conspiring to manufacture and distribute marijuana, in violation of 21 U.S.C.

 §§ 841(a)(1), 841(b)(1)(A), and 846, and 18 U.S.C. § 2. Counts Two and Three charge Magana and

 Mendoza with knowingly and intentionally manufacturing and possessing with the intent to

 manufacture and distribute marijuana, in violation of 21 U.S.C. §§ 841(a)(1), 841(b)(1)(A), and 18




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        The complaint names Brian Magana, Maria Hilda Magana-Mendoza, Javier Magana, Marco
Magana, and Manuel Mendoza. According to the affidavit in support of the complaint, Javier and
Maria are Brian’s parents, and Marco and Manuel are Brian’s uncles. (Aff. ¶ 32.)

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 U.S.C. § 2.2 And Count Four charges Magana with knowingly possessing a firearm in furtherance of

 a drug trafficking offense, in violation of 18 U.S.C. § 924(c)(1)(A)(i). Mendoza and Magana were

 arraigned on July 27 and 31, 2012, respectively; trial was originally set for October 1, 2012.

           After the court granted two extensions, on September 13, 2012, Magana and Mendoza filed

 substantively identical motions to suppress all images gathered as a result of electronic surveillance of

 the alleged “grow site” at N12309 South Hill Road (the “Property”). The government responded to the

 motions on September 19, 2012. Magana (but not Mendoza) filed a reply in support of his motion on

 October 2, 2012. Consequently, the motions are ready for resolution.

                                               II. FACTS

           The relevant facts are brief, undisputed, and based primarily on the affidavit submitted in

 support of the criminal complaint. Javier Magana (a co-defendant who did not join the motion to

 suppress) is the owner of the Property. (Aff. ¶ 8.) The Property, which consists of about 22 mostly

 wooded acres, includes a single family residence with a detached garage, a small wood shed, and a

 locked gate at its entrance. (Aff. ¶¶ 11, 25, 27.) Magana and Mendoza also allege that “No

 Trespassing” signs are posted at various points throughout the Property. (Magana Motion at 2;

 Mendoza Motion at 2.)

           On July 12, 2012, law enforcement officers entered the Property through an adjacent property.

 (Aff. ¶ 25.) Outside the curtilage,3 officers observed marijuana plants growing in a small clearing.



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        Count Two charges that the offense occurred at W6898 and W6864 County Highway X,
Middle Inlet, Wisconsin. Count Three charges that the offense occurred at N12309 South Hill Road,
Athelstane, Wisconsin.
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        Curtilage is “the part of one’s property, besides the house itself, in which private activities
normally take place.” United States. v. Simms, 626 F.3d 966, 970 (7th Cir. 2010).

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 (Aff. ¶ 25.) They then installed surveillance cameras covering the marijuana grow. (Aff. ¶ 26.) A few

 days later, a magistrate judge issued a warrant authorizing the installation of surveillance cameras on

 the Property. (Aff. ¶ 29.) Both Magana and Mendoza claim to be depicted in the videos. (Magana

 Motion at 2; Mendoza Motion at 2.) Law enforcement agents, however, have only identified images

 of Magana. (Gov’t Response at 2.)

                                            III. DISCUSSION

           Magana and Mendoza move to suppress all images gathered as a result of electronic surveillance

 of the alleged “grow site” on the Property, arguing that prior judicial authorization was required.4 The

 government, on the other hand, maintains that the Fourth Amendment does not protect the area under

 surveillance.5

           The Fourth Amendment provides, in relevant part, that “[t]he right of the people to be secure

 in their persons, houses, papers, and effects, against unreasonable searches and seizures, shall not be

 violated.” In Oliver v. United States, 466 U.S. 170, 176 (1984), the Supreme Court held that open

 fields, as distinguished from curtilage, are not “effects” within the meaning of the Fourth Amendment.

 The fact that the intrusions at issue were trespasses at common law did not affect the Fourth



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         Specifically, Magana and Mendoza argue that the images were obtained contrary to Title III
of the Omnibus Crime Control and Safe Streets Act of 1986 (“Title III”). Title III is only relevant,
however, if the Fourth Amendment is implicated. See United States v. Torres, 751 F.2d 875, 884 (7th
Cir. 1984) (“Title III was Congress’s carefully thought out, and constitutionally valid effort to
implement the requirements of the Fourth Amendment with regard to the necessarily unconventional
type of warrant that is used to authorize electronic eavesdropping.”) (internal citations omitted).
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         The government also briefly argues that there was no Fourth Amendment search because
neither Mendoza nor Magana owned or leased the Property. (Gov’t Response at 4 n.2.) The court
need not address this argument because: (1) it is arguably underdeveloped; (2) the record does not
disclose whether Mendoza or Magana leased the Property; and (3) as set forth below, the motion can
be denied on other grounds.

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 Amendment analysis. Id. at 183. Recently, the Supreme Court reaffirmed the “open fields” doctrine

 as stated in Oliver. See United States v. Jones, 132 S. Ct. 945, 953 & n.8 (2012) (“The Fourth

 Amendment protects against trespassory searches only with regard to those items (‘persons, houses,

 papers, and effects’) that it enumerates.”).

           Magana and Mendoza urge the court to suppress because the locked gate, the alleged “No

 Trespassing” signs, and the fact that the Property is heavily wooded could lead to a subjective

 expectation of privacy. In Oliver, however, the Court rejected this same argument, reasoning that,

 under a case-by-case approach, “police officers would have to guess before every search whether

 landowners had erected fences sufficiently high, posted a sufficient number of warning signs, or located

 contraband in an area sufficiently secluded to establish a right of privacy.” 466 U.S. at 181. Moreover,

 even under a pure privacy-rights test,6 Magana and Mendoza could not show that a subjective

 expectation of privacy in open fields is “legitimate in the sense required by the Fourth Amendment.”

 Oliver, 466 U.S. at 182.

           Magana and Mendoza also emphasize that here, unlike in Oliver, officers placed photographic

 surveillance equipment on the Property. But the Supreme Court has upheld the use of technology as

 a substitute for ordinary police surveillance. See United States v. Knotts, 460 U.S. 276, 282 (1983)

 (finding that use of beeper did not alter the situation because “[n]othing in the Fourth Amendment

 prohibited the police from augmenting the sensory faculties bestowed upon them at birth with such

 enhancement as science and technology afforded them in this case”). And, to repeat, there is no

 allegation that the cameras at issue here recorded activities within the Property’s residence or curtilage.


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         In Jones, the Supreme Court placed a renewed emphasis on property rights, in addition to
privacy rights. 132 S. Ct. at 950-51 (explaining that “Fourth Amendment rights do not rise or fall
with the [reasonable-expectation-of-privacy] formulation”).

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See United States v. Aguilera, No. 06-CR-336, 2008 WL 375210 at *2 & n.3 (E.D. Wis. Feb. 11, 2008)

(denying motion to suppress on similar facts). For these reasons, the Fourth Amendment is not in play.

        NOW THEREFORE IT IS RECOMMENDED that Mendoza’s and Magana’s motions to

suppress evidence be DENIED.

        Your attention is directed to 28 U.S.C. § 636(b)(1)(B) and (C), and Federal Rule of Criminal

Procedure 59(b)(2) (as amended effective December 1, 2009), whereby written objections to any

recommendation herein or part thereof may be filed within fourteen days of the date of service of this

recommendation. Objections are to be filed in accordance with the Eastern District of Wisconsin’s

electronic case filing procedures. Courtesy paper copies of any objections shall be sent directly to the

chambers of the district judge assigned to the case. Failure to file a timely objection with the district

court shall result in a waiver of a party’s right to appeal.

        SO ORDERED this 9th day of October, 2012, at Milwaukee, Wisconsin

                                                BY THE COURT:

                                                s/ William E. Callahan, Jr.
                                                WILLIAM E. CALLAHAN, JR.
                                                United States Magistrate Judge




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